                                   Case 2:16-cv-02970-JAD-CWH Document 20 Filed 03/08/17 Page 1 of 3


                                Michael Kind, Esq. (SBN: 13903)
                            1
                                KAZEROUNI LAW GROUP, APC
                            2   7854 W. Sahara Avenue
                                Las Vegas, NV 89117
                            3
                                Phone: (800) 400-6808 x7
                            4   FAX: (800) 520-5523
                                mkind@kazlg.com
                            5
                            6   Attorneys for Plaintiff
                            7
                                                       UNITED STATES DISTRICT COURT
                            8
                                                            DISTRICT OF NEVADA
                            9
                           10
                           11        Maria M. Grill,                                  Case No.: 2:16-cv-02970-JAD-CWH
KAZEROUNI LAW GROUP, APC




                           12                       Plaintiff,                        Stipulation of Dismissal of
   7854 W. Sahara Avenue




                                     v.                                               Defendant AcceptanceNow
    Las Vegas, NV 89117




                           13
                           14        Credit One Bank, N.A.; Sun Loan
                           15        Company Nevada, Inc.;
                                     AcceptanceNow; Experian
                           16        Information Solutions, Inc.; and
                           17        Equifax Information Services,
                                     LLC,
                           18
                           19                       Defendants.

                           20
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28

                                 ______________________________________________________________________________________________________
                                STIPULATION TO DISMISS                              !1                CASE NO.: 2:16-cv-02970-JAD-CWH
                                   Case 2:16-cv-02970-JAD-CWH Document 20 Filed 03/08/17 Page 2 of 3



                            1                                            STIPULATION
                            2         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Maria
                            3   M. Grill (“Plaintiff”) and Defendant AcceptanceNow (“Defendant”) stipulate to
                            4   dismiss Plaintiff’s claims against Defendant only in this matter. Each party will bear
                            5   its own costs, disbursements, and attorney fees.
                            6
                            7   DATED this 8th day of March 2017.
                            8
                            9   KAZEROUNI LAW GROUP, APC
                           10
                                By: /s/ Michael Kind
                           11   Michael Kind
                                7854 W. Sahara Avenue
KAZEROUNI LAW GROUP, APC




                           12
                                Las Vegas, NV 89117
   7854 W. Sahara Avenue
    Las Vegas, NV 89117




                           13   Attorneys for Plaintiff
                           14
                                LEWIS BRISBOIS BISGAARD & SMITH LLP
                           15
                                By: /s/ Marc S. Cwik
                           16
                                Marc S. Cwik, Esq.
                           17   6385 S. Rainbow Boulevard, Suite 600
                                Las Vegas, NV 89118
                           18
                                Attorneys for Defendant AcceptanceNow
                           19
                           20
                                                                       IT IS SO ORDERED.
                           21
                           22
                           23
                                                                       UNITED STATES DISTRICT JUDGE
                           24
                                                                       Dated:
                           25
                           26
                           27
                           28

                                 ______________________________________________________________________________________________________
                                STIPULATION TO DISMISS                              !2                CASE NO.: 2:16-cv-02970-JAD-CWH
                                   Case 2:16-cv-02970-JAD-CWH Document 20 Filed 03/08/17 Page 3 of 3



                            1                                  CERTIFICATE OF SERVICE
                            2          I HEREBY CERTIFY pursuant to Rule 5 of the Federal Rules of Civil
                            3   Procedure that on March 8, 2017, the foregoing Stipulation was filed and served via
                            4   CM/ECF to all parties appearing in this case.
                            5
                            6                                             KAZEROUNI LAW GROUP, APC
                            7
                                                                          By: /s/ Michael Kind
                            8                                             Michael Kind
                                                                          7854 W. Sahara Avenue
                            9
                                                                          Las Vegas, NV 89117
                           10
                           11
KAZEROUNI LAW GROUP, APC




                           12
   7854 W. Sahara Avenue
    Las Vegas, NV 89117




                           13
                           14
                           15
                           16
                           17
                           18
                           19
                           20
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28

                                 ______________________________________________________________________________________________________
                                STIPULATION TO DISMISS                              !3                CASE NO.: 2:16-cv-02970-JAD-CWH
